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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                                                                          16-cr-338 (PKC)

                -against-
                                                                            ORDER

WILLIAM WALTERS,

                                  Defendant.
-----------------------------------------------------------x
CASTEL, DISTRICT JUDGE:
                It has now been over a year since the Court imposed a reporting requirement on

the government in its investigation of leaks of grand jury material to the press by a supervisory

Special Agent of the Federal Bureau of Investigation (“FBI”). The existence of unauthorized

leaks by a supervisory agent of the FBI has been admitted by the government, and it has further

conceded that it cannot defend against the assertion that the leaks included grand jury

information. The extent of the leaks and the identity of other participants is not yet known to this

Court. This Order is prompted by the Court’s receipt of a March 12, 2018 report of the Public

Integrity unit of the United States Department of Justice.

                Rule 6(e)(7), Fed. R. Crim. P., provides that “[a] knowing violation of Rule 6 . . .

may be punished as contempt of court.” Ordinarily, the decision to enforce a law of the United

States imposing a criminal penalty is entrusted exclusively to the executive branch of

government. Not so in the case of criminal contempt. The Court has the inherent power to

appoint a private attorney to prosecute the contempt. Young v. United States ex rel. Vuitton et
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Fils S.A., 481 U.S. 787 (1987). 1 This is because contempt of court, including a violation of

grand jury secrecy, undermines the integrity of the judicial process.

                  Where, as here, the conduct of persons within the executive branch of government

is at issue it may be a prudent exercise of the Court’s inherent power to appoint a private

prosecutor. This Court, so far, has elected to forbear. The Office of the United States Attorney

for this District (“USAO”) advised that the Office of Public Integrity of the Department of

Justice had opened a criminal investigation on December 20, 2016. The USAO further advised

that it was recused from the investigation and the Court approved transferring the reporting

obligation that it imposed on the USAO to the Public Integrity unit. (Order of Mar. 13, 2017;

Doc 113.) The Court has already had occasion to counsel (to use a charitable word) the Public

Integrity unit for submitting a report with “four lines of text (beyond the introductory and

concluding sentences) contain virtually no substance.” (Order of June 16, 2017; Doc 187.)

                  The Court will provisionally set aside June 27, 2018 at 4 p.m. for a session with

the signatories of the March 12, 2018 letter to orally supplement, if the Court deems it necessary,

the content of their June report.

                  SO ORDERED.




         Dated: New York, New York
         April 2, 2018




1
  “The court must request that the contempt be prosecuted by an attorney for the government, unless the interest of
justice requires the appointment of another attorney. If the government declines the request, the court must appoint
another attorney to prosecute the contempt.” Rule 42(a)(2), Fed. R. Crim. P.


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